                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

UNITED STATES OF AMERICA

v                                                    CASE NO: 5:20-cr-40-Oc-28PRL

JOSEPH SAMUEL CATALANO


                          ORDER APPOINTING COUNSEL

       The Court has examined the defendant under oath and found him without sufficient

resources within the meaning of Title 18, United States Code, Section 3006A to employ

counsel. Criminal Justice Act attorney Michael William Nielsen is hereby appointed to

represent the defendant. Mr. Nielsen, whose office is located in Winter Springs, is

reminded that the District Judges serving this division typically limit travel reimbursement

to one hour per way.

       The defendant may be required to reimburse the United States for the costs and

expenses of appointed counsel and at the conclusion of these proceedings the United

States may file a Motion for Reimbursement of Costs and Attorney’s Fees, if it is deemed

appropriate.

       DONE AND ORDERED in Ocala, Florida, on this 9th day of September, 2020.




Copies furnished to:

Counsel of Record
